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                 IN THE UNITED STATES DISTRICT COURT FOR'; ;                               nVw"'
                       THE SOUTHERN DISTRICT OF GEORGIA                      '
                                 SAVANNAH DIVISION                              Ml ^1

UNITED STATES OF AMERICA
                                                                                 I 'l--
                                                                                 '--isf. :f ga.
V.                                                   CASE NO. 4:99-cr-00133-2


Joe Perry Garrett,
      Defendant.




                                     ORDER


      Defendant        Garrett    has    filed       a    Motion       for   Resentencing

Pursuant to Section 404 of the First Step Act {Doc. 800).

      Defendant        was   convicted    by     a       jury    of    21    counts       of      a

redacted, third superseding indictment charging him with various

instances       of     distribution       of     controlled            substances          (and

conspiring to do such) and use of a communication facility.                                 The

statutory      penalty as      to each     of    Counts         1,    4   and    5 of      that

Indictment was mandatory life imprisonment due to the quantity

of cocaine      base    associated      with each of            those counts, and the

Government's filing of a 21 U.S.C. § 851 information on the

basis     of    Defendant's      three    prior          felony       drug   convictions.

Defendant was therefore sentenced to a mandatory term of life

imprisonment as to each of Counts 1, 4 and 5. A term of life
imprisonment         was also imposed as to Count 3, although life
imprisonment was not mandatory as to that Count.

        The    First Step Act of         2018 has the effect of lowering

Defendant's statutory penalty as to each of Counts 1, 4 and 5

from mandatory life to not less than 10 years nor more than life

imprisonment. The Act also lowers Defendant's statutory penalty
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